     Case 3:19-md-02913-WHO Document 2236 Filed 08/11/21 Page 1 of 5



 1   [Submitting Counsel on Signature Page]
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 8                               UNITED STATES DISTRICT COURT

 9                          NORTHERN DISTRICT OF CALIFORNIA

10                                  SAN FRANCISCO DIVISION
11

12   IN RE: JUUL LABS, INC., MARKETING          Case No. 3:19-md-02913-WHO
     SALES PRACTICES AND PRODUCTS
13   LIABILITY LITIGATION                       JOINT STIPULATION AND
                                                [PROPOSED] ORDER TO EXTEND
14                                              PLAINTIFFS’ DEADLINE FOR FILING
                                                AMENDED PERSONAL INJURY
15                                              BELLWETHER COMPLAINTS
     This Document Relates to:
16
     PERSONAL INJURY BELLWETHER
17   COMPLAINTS
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                                                              JOINT STIPULATION AND [PROPOSED]
                                                                     ORDER TO EXTEND DEADLINE
                                                                   CASE NO.: 19-MD-02913-WHO
     Case 3:19-md-02913-WHO Document 2236 Filed 08/11/21 Page 2 of 5



 1          The undersigned parties jointly stipulate and agree, subject to the Court’s approval, to a

 2   modest extension of the deadline for Plaintiffs to file the four amended complaints at issue in the

 3   Court’s July 22, 2021 Order on Motions to Dismiss Personal Injury Bellwether Complaints. Dkt.

 4   No. 2144.

 5          WHEREAS, on June 22, 2021, the Court issued an Order granting Plaintiffs Fairess,

 6   Westfaul, G.F., and B.B. leave to amend their complaints within 20 days of the date of the Order.

 7   Id.

 8          WHEREAS, the parties have not previously sought an extension of this deadline;

 9          WHEREAS, the parties met and conferred and, subject to the Court’s approval, agreed to

10   a modest 7-day extension of Plaintiffs Fairess, Westfaul, G.F., and B.B. deadline to file their

11   Amended Complaints.

12          NOW THEREFORE, the parties, through their undersigned counsel, hereby stipulate,

13   agree and respectfully request that the Court enter an Order extending Plaintiffs Fairess, Westfaul,

14   G.F., and B.B.’s deadline to file their amended complaints August 18, 2021.

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16   Dated: August 10, 2021                                      Respectfully submitted,

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                                                                             JOINT STIPULATION AND [PROPOSED]
                                                    1                               ORDER TO EXTEND DEADLINE
                                                                                  CASE NO.: 19-MD-02913-WHO
     Case 3:19-md-02913-WHO Document 2236 Filed 08/11/21 Page 3 of 5



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                                                                    JOINT STIPULATION AND [PROPOSED]
                                               2                           ORDER TO EXTEND DEADLINE
                                                                         CASE NO.: 19-MD-02913-WHO
     Case 3:19-md-02913-WHO Document 2236 Filed 08/11/21 Page 4 of 5



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                                                                       JOINT STIPULATION AND [PROPOSED]
                                                   3                          ORDER TO EXTEND DEADLINE
                                                                            CASE NO.: 19-MD-02913-WHO
     Case 3:19-md-02913-WHO Document 2236 Filed 08/11/21 Page 5 of 5



 1          PURSUANT TO STIPULATION AND GOOD CAUSE SHOWING, IT IS HEREBY

 2   ORDERED: The previous deadline of August 11, 2021 for Plaintiffs Fairess, Westfaul, G.F., and

 3   B.B. to file their amended complaints is hereby extended to August 18, 2021.

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 5   Dated: August 11, 2021
                                                           HONORABLE WILLIAM H. ORRICK
 6                                                            United States District Judge
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                                                    4                         ORDER TO EXTEND DEADLINE
                                                                            CASE NO.: 19-MD-02913-WHO
